` CaSé 2214-CV-08127-W.]|\/|-|\/|F DOCUI“MT[ 39-1 Filed 08/11/15 Page l Of 24 Page|D: 348

AMENDED AND RESTATED
LIMITED LIABILITY COMPANY
OP_ERATING AGREEMENT OF
CT PIZZA, LLC

This Amended and Restated Limited Liability Company Operating Agreement (this
“Agreement”) is entered into this 12th day of July, 201 1, by and among the signatories hereto.

BACKGRoUND

A. On July 5, 2011 Articles of Organization for CT Pizza, LLC (“Company”) Were
filed With the Connecticut Secretary of State in accordance With the Connecticut
Limited Liability Company Act- (Conn. Gen. \ _Stat. Ann. 34-100 et seq.), as
amended (“Law”), Wherein Jignesh N. Pandya Was the Sole Member. _

B. On July 12th, 2011 Jignesh N. Pandya sold twenty-five (25%) percent»of his
Membership Interest to Kishan J. Patel. `

C. Jignesh N. Patel and Kishan J. Patel agree that collectively they are the sole
Members of the Company and desire to amend and restate the Limited Liability
Company Agreement as more fully set forth herein

NOW TH]EJREFOR`E,l intending to be legally bound, and incorporating the Background
above, the parties agree as follows:

Section I.
Defined Terrns

The following capitalized terms shall have the meanings specified in this Section I.
?Other terms are defined in the text of this Agreement; and, throughout this Agreement, those
terms shall have the meanings respectively ascribed to them.

- - §“Adiusted Canital Account Deficit” means, With- respect to any lnterest Holder, the deficit
balancez_ if any,_in the Interest Holder’s Capital Account as of the end of the relevant taxable
year, after giving effect to the following adjustrnents:

_ (i) The deficit shall be decreased by the amounts Which the Interest Holder is
obligated to restore pursuant to Section 4.4.2, or is deemed obligated to restore pursuant
to Regulation Section 1.704~1(b)(2)(ii)(c); and

(ii) The deficit shall be increased by the items described in Regulation Section
1.704-1(b)(2)(ii)-(d)(4), (5), and (6).

“Ad]`usted Cap.ital Balance” means, as of any day, an Interest Holder’s total Capital
Contributions less all amounts actually distributed to the Interest Holder pursuant to Sections

{CLIENT FILES\ZSO§\OOOl\GENBUS\AGR\OO115319.DOC;3}- 1 ~

DT] 909348v3 02/28/1 1 . W

/,I

Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 2 of 24 Page|D: 349

4.2.3.4.1 and 4.4 hereof`. If any Interest is transferred pursuant to the terms of this Agreement,
the transferee shall succeed to the Adjusted Capital Balance of the transferor to the extent the
Adjusted Capital Balance is attributable to the Interest transferredl `

“Affiliate” means, with respect to any Member, any other Person that, directly or
indirectly through one or more intermediaries, controls, is controlled by or is under common
control with such specified Person. For purposes of this definition, the term “control” means the
power to direct or cause the direction of the management of a Person, directly or indirectly,
whether through the ownership of voting securities, by contract or otherwise; and the terms
“controlled” and “controlling” have correlative meanings

“Agreemen ” means this Agreement, as amended from time to time.

“Capital Accoun ” means the account to be maintained by the Company for each Interest
Holder in accordance With the following provisions:

(i) An Interest Holder’s Capital Account shall be credited With the Interest
Holder’s Capital Contributions, the amount of any Company liabilities assumed by the
Interest Holder (or which are secured by Company property distributed to the Interest
Holder), the Interest Holder’s distributive share of Profit and any item in the nature of
income or gain specially allocated to such Interest Holder pursuant to the provisions of
Section IV (other than Section 4.3.3); and

(ii) j An Interest Holder’s Capital Account shall be debited With the amount of
money and the fair market value of any Company property distributed to the Interest
Holder, the amount of any liabilities of the Interest Holder assumed by the Company (or
Which are secured by property contributed by the Interest Holder to the Company), the
Interest Holder’s distributive share of Loss, and any item in the nature of expenses or
losses specially allocated to the Interest Holder pursuant to the provisions of Section IV
(other than Section 4.3.3).

If any Interest is transferred pursuant to the terms of this Agreement, the
` transferee shall succeed to the Capital Account of the transferor to the extent the Capital
Account is attributable to the Interest transferred If the book value of Company property
is adjusted pursuant to Section 4.3.3, the Capital Account of each Interest Holder shall be
adjusted to reflect the aggregate adjustment in the same manner as if the Company had
recognized gain or loss equal to the amount of such aggregate adjustment lt is intended
that the Capitai Accounts of all Interest Holders shall be maintained in compliance with
the provisions of Regulation Section l.704-l(b), and all provisions of this Agreement
relating to the maintenance of Capital Accounts shall be interpreted and applied in a
manner consistent With that Regulation.

“Capital Contribution” means the total amount of cash and the fair market value of any
other assets contributed (or deemed contributed under Regulation Section 1.704-1(b)(2)(iv)(d))
to the Company by a Member, net of liabilities assumed or to which the assets are subject

[CLIENT FILES\ZSOS\OOUl\GENBUS\AGRiOOl15319.[)0€;3}" 2 "
DT1909348v3 02!28/11 @

1140

' Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 3 of 24 Page|D: 350

“Capital Proceeds” means the gross receipts received by the Company from a Capital
Transaction.

“Capital Transaction” means any transaction not in the ordinary course of business which
results in the Company’s receipt of cash or other consideration other than Capital Contributions,
including, without limitation, proceeds of sales or exchanges or other dispositions of property not
in the ordinary course of business, financings, refinancings, condemnations recoveries of
damage awards, and insurance proceeds.

“Cash Flow” means all cash funds derived from operations of the Company (including
interest received on reserves), without reduction for any noncash charges, but less cash funds
used to pay current operating expenses including, but not limited to, any management fees, and
to pay or establish reasonable reserves for future expenses, debt payments, capital improvements,
and replacements as determined by the Manager in its sole discretion Cash Flow shall not
include Capital Proceeds but shall be increased by the reduction of any reserve previously
established

“Code” means the Internal Revenue Code of 1986, as amended, o_r any corresponding
provision of any succeeding law.

“Company” means the limited liability company formed in accordance with this
Agre_ement.

“Intercst” means a Person’s share of the Profits and Losses of, and the right to receive
distributions from, the Company.

“Interest Holder” means any Person who holds an Interest, whether as a Member or as an
unadmitted assignee of a Member.

“Involuntary Withdrawal” means, with respect to any Member, the occurrence of any of
the following events:

(i) The Member makes an assignment for the benefit of creditors;
(ii) The Member files a voluntary petition of bankruptcy;

(iii) The Member is adjudged bankrupt or insolvent or there is entered against
the Member an order for relief in any bankruptcy or insolvency proceeding;

(iv) The Member files a petition or answer seeking for the Member any
reorganization, arrangement, composition, readjustment liquidation, dissolution, or
similar relief under any statute, law, or regulation;

(v) The Member seeks, consents to, or acquiesces in the appointment of a
trustee for, receiver for, or liquidation of the Member or of all or any substantial part of
the Member’s properties;

{anNT rnus\zsos\oooncENsusucR\oo115319.noc;3}- 3 -
Dri 909348v3 02/23/11 @

' Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 4 of 24 Page|D: 351

(vi) The Member files an answer or other pleading admitting or failing to
contest the material allegations of a petition filed against the Member in any proceeding
described in Subsections (i) through (v);

(vii) Any proceeding against the Member seeking reorganization arrangement,
composition, readjustment, liquidation, dissolution, or similar relief under any statute,
law, or regulation, continues for one hundred twenty (120) days after the commencement
thereo`f, or the appointment of a trustee, receiver, or liquidator for the Member or all or
any substantial part of the Member’s properties without the Member’s agreement or
acquiescence, which appointment is not vacated or stayed for one hundred twenty (120)
days or, if the appointment is stayed, for one hundred twenty (120) days after the
expiration of the stay during which period the appointment is not vacated;

(viii) If the Member is an individual, the Member’s death or adjudication by a
court of competent jurisdiction as incompetent to manage the Member’s person or

property;

(ix) If the Member is acting as a Member by virtue of being a trustee of a trust,
the termination of the trust;

(x) If the Member is a partnership or another limited liability company, the
dissolution and commencement of winding up of the partnership or limited liability
company;

(xi) If the Member is a corporation, the dissolution of the corporation or the
revocation of its charter; or

(xii) lf the Member is an estate, the distribution by the fiduciary of the estate’s
entire interest in the limited liability company.

“La__w__” means the Connecticut Limited Liability Company Law, Conn. Gen. Stat. Ann`.
34-100 et seq., as amended from time to time.

“Manager” is the Person designated as such in Section V.

“Member” means each Person signing this Agreement and any Person who subsequently
is admitted as a member of the Company.

“Member Loan Nonrecourse Deductions” means any Company deductions that would be
Nonrecourse Deductions if they were not attributable to a loan made or guaranteed by a Member
within the meaning of Regulation Section l.704-2(i).

“Membership Rights” means a Member’s Interest and a Member’s right to vote on
matters coming before the Company that require the approval of the Members.

‘ {CLlENT FlLES\‘ZSOS\GOOl\GENBUS\AGR\OOI15319.DOC;3}- 4 -
D'I`l 909348v3 02/28/11

@

Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 5 of 24 Page|D: 352

“Minimum Gain” has the meaning set forth in Regulation Section 1.704-2(d). Minimum
Gain shall be computed separately for each Interest Holder in a manner consistent with the
Regulations under Code Section 704(b).

“Negative Capital Accoun ” means a Capital Account With a balance of less than zero.

“Nonrecourse Deductions” has the meaning set forth in Regulation Section l.704-2(b)(1).
The amount of Nonrecourse Deductions for a taxable year of the Company equals the net
increase, if any, in the amount of Minimum Gain during that taxable year, determined according
to the provisions of Regulation Section 1.704-2(c).

“Nonrecourse Liability” means any liability of the Company with respect to which no
Member has personal liability determined in accordance with Code Section 752 and the
Regulations promulgated thereunder.

“Percentage” means, as to a Member, the percentage set forth after the Member’s name
on Exhibit A, as amended from time to time, and as to an Interest Holder who is not a Member,
the Percentage of the Member Whose Interest has been acquired by such Interest Holder, to the
extent the Interest Holder has succeeded to that Member’s Interest

“Person"’ means and includes any individual, corporation, partnership, association,
limited liability company, trust, estate, or other entity.

 

“Positive Capital Accoun ” means a Capital Account with a balance greater than zero.

“Profit” and “Loss” mean, for each taxable year of the Company (or other period for
which Profit or Loss must be computed) the Company’s taxable income or loss determined in
accordance with Code Section 703(a), with the following adjustments:

(i) All items of income, gain, loss, deduction, or credit required to be stated
separately pursuant to Code Section 703(a)(1) shall be included in computing taxable
income or loss;

(ii) Any tax-exempt income of` the Company, not otherwise taken into account
in computing Profit or Loss, shall be included in computing taxable income or loss;

(iii) Any expenditures of the Company described in Code Section 705(a)(2)(B)
(or treated as such pursuant to Regulation Section l.704(b)(2)(iv)(i)) and not otherwise
taken into account in computing Profit or Loss, shall be subtracted from taxable income
or loss;

(iv) Gain or loss resulting from any taxable disposition of Company property
shall be computed by reference to the adjusted book value of the property disposed of,
notwithstanding the fact that the adjusted book value differs from the adjusted basis of

the property for federal income tax purposes;

[CLIENT FILES\2805\OOOl\GENBUS`\AGR'\OOl15319.DOC;3}" 5 "

DTl 909348v3 02/23/11 @

cf

Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 6 of 24 Page|D: 353

(v) In lieu of the depreciation, amortization, or cost recovery deductions
allowable in computing taxable income or loss, there shall be taken into account the
depreciation computed based upon the adjusted book value of the asset; and

(vi) Notwithstanding any other provision of this definition, any items which
are specially allocated pursuant to Section 4.3 hereof shall not be taken into account in
computing Proiit or Loss,

“Regulation” means the income tax regulations, including any temporary regulations,
from time to time promulgated under the Code.

“Transfer” means, when used _as a noun, any voluntary sale, hypothecation, pledge,
assignment, attachment, or other transfer; and, when used as a verb, means, voluntarily to sell,
hypothecate, pledge, assign, or otherwise transfer.

“Voluntary Withdrawal” means a Member’s dissociation with the Company by means
other than by a Transfer or an Involuntary Withdrawal.

Section II.
Formation and Narne: Office; Purpose; Term

2.1. Organization. The parties shall organize a limited liability company pursuant to
the Law and the provisions of this Agreement and, for that purpose, shall cause Articles of
Organization, in the form prescribed by the Connecticut Department of State, to be executed and
filed for record with the Connecticut Department of State.

2.2. Name of the Company. The name of the Company shall be CT Pizza, LLC. The
Company may do business under that name and under any other name or names which the

Manager selects.

2.3. Pu___rpose. The Company is formed for the purpose of engaging in any lawful
business, purpose or activity for which limited liability companies may be formed under the Law
including, but not limited to, the purchase and operation of nine (9) Pizza Hut stores in
Connecticut. The Company shall possess and may exercise all of the powers and privileges
granted by the Law or by any other law or by this Agreement, together with any powers
incidental thereto, so far as such powers and privileges are necessary or convenient to the
conduct, promotion or attainment of the business purposes or activities of the Company. `

2.4. Term. The term of the Company shall begin upon the filing of the Articles of
Organization with the Connecticut Department of State and shall continue in existence until its
existence is sooner terminated pursuant to Section VII of this Agreement.

2.5. Registered Office; Principal Office. The registered agent in the State of
Connecticut in Business Filings Incorporated with an address of One Corporate Center llth
Floor, Hartford, CT 06103 and the principal place of business of the Company shall be located

{CLlENT FILES\ZBOS\GOOl\GENBUS\AGR\OOl15319.DOC;3}- 6 -
Dri 90934sv3 02/28/11 @
la 0

Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 7 of 24 Page|D: 354

at 210 E. Street Road, Suite 3B, Feasterville, PA 19053, or such other place or places as the
Manager may select

2.6. Members. The name, present mailing address, and Percentage of each Member
are set forth on Exhibit A. `

Section III.
Members; Capital; Capital Accounts

3.1. lnitial Capital Contributions. Upon the execution of this Agreement, the
Members shall contribute to the Company cash and other consideration as agreed to by the

Members.

3.2. Additional Capital Contributions.

3.2.1. If the Manager at any time or from time to time determines that the
Company requires additional Capital Contributions, then the Manager shall give notice to
each Member of (i) the total amount of additional Capital Contribution that is required,
(ii) the reason the additional Capital Contri-bution _is required, (iii) each Member’s
proportionate share of the total additional Capital Contribution (determined in accordance
with this Section), and (iv) the date each Member’s additional Capital Contribution is due
and payablel A Member’s proportionate share of the total additional Capital Contribution
shall be equal to the product obtained by multiplying the Member’s Percentage and the
total additional Capital Contribution required. A Member’s proportionate share shall be
payable in cash or by certified check.

3.2.2. Except as provided in Section 3.2.1, no Member shall be required to
contribute any additional capital to the Company, and no Member shall have any personal
liability for any obligation of the Company.

3.2.3. lf a Member fails to pay when due all or any portion of any Capital
Contribution, the Manager shall request the non-defaulting Members to pay the unpaid
amount of the defaulting Member’s Capital Contribution (the “Unpaid Contribution”).
To the extent the Unpaid Contribution is contributed by any other Member, the defaulting
Member’s Percentage shall be reduced and the Percentage of each Member who makes
up the Unpaid Contribution shall be increased, so that each Member’s Percentage is equal
to a fraction, the numerator of which is that Member’s total Capital Contribution and the

denominator of which is the total Capital Contributions of all Interest Holders. The
Manager shall amend Exhibit A accordingly This remedy is in addition to any other
remedies allowed by law or by this Agreernent

3.3. No interest on Capital Contributions. Interest Holders shall not be paid interest
on their Capital Contributions.

{CLIENT FlLES'QSO§\OOOl\GENBUS\AGR\OOl15319.DOC;3}' 7 "
DTi 90934sv3 02/28/11 @ .

Case 2:14-cV-08127-W.]I\/|-I\/|F Document39-1 Filed 08/11/15 Page 8 of 24 Page|D: 355

3.4. Return of Capital Contributions. Except as otherwise provided in this Agreement,
no Interest Holder shall have the right to receive the return of any Capital Contribution.

3.5. Form of Return of Capital. If an interest Holder is entitled to receive a return of a
Capital Contribution, the Interest Holder shall not have the right to receive anything but Cash in
return for the Interest Holder’s Capital Contribution.

3.6. n Capital Accounts. A separate Capital Account shall be maintained for each
Interest Holder. 7

3.7. Loans. Any Member may, at any time, make or cause a loan to be made to the
Company in any amount and on those terms upon which the Manager and such Member agree.

Section IV.
Profit, Loss,` and Distributions

4.1. Distributions of Cash Flow and Allocations of Profit or Loss Other Than Capital

Transactions.

4.1.1. Profit or Loss Other Than from a Capital Transaction. After giving effect

to the special allocations set forth in Section 4.3, for any taxable year of the Company,
Profit or Loss (Other than Profit or Loss resulting from a Capital Transaction, which
Profit or Loss shall be allocated in accordance With provisions of Sections 4.2.1 and
4.2`.2) shall b'e allocated to the Interest Holders in proportion to their Percentages

4.1.2. Cash Flow. Cash Flow for each taxable year of the Company shall be
distributed to the Interest Holders in proportion to their Percentages no later than seventy~
five (75) days aher the end of the taxable ye_ar.

4.2. Distributions of Capital Proceeds and Allocation of Profit or Loss from Capital

Transactions.

4.2.1. Profit After- giving effect to the special allocations set forth in Section
74.3, Profit from a Capital Transaction shall be allocated as follows:

4.2.1.1. lf one or more Interest Holders has a Negative Capital
Account, to those Interest Holders, in proportion to their Negative Capital
Accounts, until all of those Negative Capital Accounts have been reduced to zero.

4.2.1.2._ Any Profit not allocated to reduce Negative Capital
Accounts to zero pursuant to Section 4.2.l.l shall be allocated to the Interest

Holders in proportion to, and to the extent of, the amounts distributable to them -

pursuant to Sections 4.2.3.4.1 and 4.2.3.4.3.

{CLIENT FlLES\2805\0001\GENBUS‘\AGR\OOIl53l9.DOC;3}- 8 -

DTI 909348v3 02/28/11 n W `

la F

Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 9 of 24 Page|D: 356

4.2.1.3. Any Profit in excess of the foregoing allocations Shall be
allocated to the Interest Holders in proportion to their Percentages

4.2.2. Loss. After giving effect to the special allocations set forth in Section 4.3,
Loss from a Capital Transaction shall be allocated as follows:

4.2.2.1. If one or more Interest Holders has a Positive Capital
Account, -to those Interest Holders, in proportion to their Positive Capital
Accounts, until all of those Positive Capital Accounts have been reduced to zero.

4.2.2.2-. Any Loss not allocated to reduce Positive Capital Accounts
to zero pursuant to Section 4.2.2.1 shall be allocated to the Interest Holders in
proportion to their Percentages.

4.2.3. Capital Proceeds. Capital Proceeds shall be distributed and applied by the
Company in the following order and priority: 1

4.2.3.1. To the payment of all expenses of the Company incident to
the Capital Transaction; then `

4.2.3.2. To the payment of debts and liabilities of the Company
then due and outstanding (including all debts due to any Interest Holder); then

4.2.3.3. To the establishment of any reserves which the Manager, in
its sole discretion, deems necessary for liabilities or obligations of the Company;
then

4.2.3.4. The balance shall be distributed as follows:

4.2.3.4.1. To the Interest Holders in proportion to their
Adjusted Capital Balances, until their remaining Adjusted Capital
Balances have been paid in full;

4.2.3.4.2. If any Interest Holder has a Positive Capital
Account after the distributions made pursuant to Section 4.2.3.4.1 and
before any further allocation of Profit pursuant to Section 4.2.1.3, to those
Interest Holders in proportion to their Positive Capital Accounts; then

4.2.3.4.3. The balance, to the Interest Holders in proportion to
their Percentages

4.3. Regulatory Allocations.

4.3.1. Qualified lncome Offset. No Interest Holder shall be allocated Losses or
deductions if the allocation causes an Interest Holder to have an Adjusted Capital
Account Deficit. lf an interest Holder receives (1) an allocation of Loss or reduction (or

{CLIENT FILES\ZSDS\OOOl\GENBUS\AGR\UOl15319.[)00;3}' 9 " __ `
ori 90934sv3 02/23/11 @
//,V

Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 10 of 24 Page|D: 357

item thereof) or (2) any distribution, which causes the Interest Holder to have an
Adjusted Capital Account Deficit at the end of any taxable year, then all items of income
and gain of the Company (consisting of a pro rata portion of each item of Company
income, including gross income and gain) for that taxable year shall be allocated to that
Interest Holder, before any other allocation is made of Company items for that taxable
year, in the amount and in proportions required to eliminate_the excess as quickly as
possible. This Section 4.3.1 is intended to comply with,_ and shall be interpreted
consistently with, the “qualified income offse ” provisions of the Regulations
promulgated under Code Section 704(b).

4.3.2. Minimum Gain Chargeback. Except as set forth in Regulation Section
l.704-2(f)(2), (3), and (4), if, during any taxable year, there is a net decrease in Minimum
Gain, each Interest Holder, prior to any other allocation pursuant to this Section iV, shall
be specially allocated items of gross income and gain for such taxable year (and, if
necessary, subsequent taxable years) in an amount equal to that Interest l-lolder’s share of
the net decrease of Minimum Gain, computed in accordance with Regulation Section
1.704-2(g). Allocations of gross income and gain pursuant to this Section 4.3.2 shall be
made first from gain recognized from the disposition of Company assets subject to
nonrecourse liabilities (within the meaning of the Regulations promulgated under Code
Section 752), to the extent of the Minimum Gain attributable to those assets, and
thereafter, from a pro rata portion of the Company’s other items of income and gain for
the taxable year. It is the intent of the parties hereto that any allocation pursuant to this
Section 4.3.2 shall constitute a “minimum gain chargeback” under Regulation Section

1.704-2®.

4.3.3. Contributed Propertv and Book-ups. In accordance with Code Section
704(0) and the Regulations thereunder, as well as Regulation Section 1.704~
l(b)(2)(iv(d)(3), income, gain, loss, and deduction with respect to any property
contributed (or deemed contributed) to the Company shall, solely for tax purposes, be
allocated among the Interest Holders so as to take account of any variation between the
adjusted basis of the property to the Company for federal income tax purposes and its fair
market value at the date of contribution (or deemed contribution). If the adjusted book
value of any Company asset is adjusted as provided herein, subsequent allocations of
income, gain,_ loss, and deduction With respect to the asset shall take account of any
variation between the adjusted basis of the asset for federal income tax purposes and its
adjusted book value in the manner required under Code Section 704(0) and the
Regulations thereunder. The Manager shall determine the applicable method of applying
Code Section 704(0) and the Regulations thereunder.

4.3.4. Code Section 754 Adiustment. To the extent an adjustment to the tax
basis of any Company asset pursuant to Code Section 734(b) or Code Section 743(b) is
required, pursuant to Regulation Section l.704-l(b)(2)(iv)(m), to be taken into account in
determining Capital Accounts, the amount of the adjustment to the Capital Accounts shall
be treated as an item of gain (if the adjustment increases the basis of the asset) or loss (if
the adjustment decreases basis), and the gain or loss shall be specially allocated to the

{CLIENT FlLES\ZSO§\OOOl\GENBUS\.AGR\OUl15319.DOC;3}' 10 '
DT1 90934sv3 02/23/11 W
aQ

Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 11 of 24 Page|D: 358

Interest Holders in a manner consistent with the manner in which their Capital Accounts
are required to be adjusted pursuant to that Section of the Regulations.

4 .3. 5. Nonrecourse Deductions. Nonrecourse Deductions for a taxable year or
other period shall be specially allocated among the interest Holders m proportion to their
Percentages.

4.3.6. Member Loan Nonrecourse Deductions. Any Member Loan Nonrecourse
Deduction for any taxable year or other period shall be specially allocated to the Interest
Holder who bears the risk of loss with respect to the loan to which the Member Loan
Nonrecourse Deduction is attributable in accordance with Regulation Section l.704-2(i).

4.3.7. Guaranteed Payments. To the extent any compensation paid to any
Member by the Company, including any fees payable to any Member pursuant to Section
5.3 hereof, is determined by the Internal Revenue Service not to be a guaranteed payment
under Code Section 707(0) or is not paid to the Member other than in the _Person’S
capacity as la Member within the meaning of Code Section 707(a), the Member shall be
specially allocated gross income of the Company in an amount equal to the amount of
that compensation, and the Member s Capital Account shall be adjusted to reflect the '
payment of that compensation

_ 4.3.8. Unrealized Receivables. If an Interest Holder’s Interest is reduced
(provided the reduction does not result in a complete termination of the Interest Holder’s
Interest), the Interest Holder’s share of the Company’s “unrealiz'ed receivables” and
“substantially appreciated inventory” (within the meaning of Code Section 751) shall not
be reduced, so that, notwithstanding any other provision of this Agreement to the
contrary, that portion of the Profit otherwise allocable upon a liquidation or dissolution of
the Company pursuant to Section 4.4 hereof which is taxable as ordinary income
(recaptured) for federal income tax purposes shall, to the extent possible without
increasing the total gain to the Company or to any Interest Holder, be-specially allocated
among the Interest Holders in proportion to the deductions (or basis reductions treated as
deductions) giving rise to such recapture Any questions as to the aforesaid allocation of
ordinary income (recapture), to the extent such questions cannot be resolved in the
manner specified above, shall be resolved by the Manager.

_4.3.9. Withholding. All amounts required to be withheld pursuant to Code
Sections 1445 or 1446 or any other provision of federal, state, or local tax law shall be
treated as amounts actually distributed to the affected Interest Holders for all purposes
under this Agreement.

4.4. Liquidation and Dissolution.
4.4.1. If the Company is liquidated, the assets of the Company shall be

distributed to the Interest Holders in accordance with the balances in their respective
Capital Accounts, after taking into account the allocations of Profit or Loss pursuant to

{cLlENTFILEs\zsos\ooai\GENBUS\AGR\oo115319.Doc;3}- ll -
ori 90934sv3 02123/1: y

Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 12 of 24 Page|D: 359

Sections 4.1 or 4.2, if any, and distributions, if any, of cash or property, if any, pursuant
to Sections 4.l and 4.2.3. `

4.4.2. No interest Holder shall be obligated to restore a Negative Capital
Account

4.5. General.

4.5.1. Except as otherwise provided in this Agreement, the timing and amount of
all distributions shall be determined by the Manager.

4.5.2. lf any assets of the Company are distributed in kind to the Interest
Holders, those assets shall be valued on the basis of their fair market value, and any
Interest Holder entitled to any interest in those assets shall receive that interest as tenant»
in-common with all other Interest Holder so entitled.' Unless the Members otherwise
agree, the fair market value of such assets shall be determined by an independent
appraiser who shall be selected by the Manager. The Profit or Loss for each unsold asset
shall be determined as if the asset had been sold at its fair market value, and the Profit or
Loss shall be allocated as provided in Section 4.2 and shall be properly credited or
charged to the Capital Accounts of the interest Holders prior to the distribution of the
assets in liquidation pursuant to Section 4.4.

4.5.3. All Profit and Loss shall be allocated, and all distributions shall be made
to the Persons shown on the records of the Company to have been Interest Holders as of
the last day of the taxable year for which the allocation or distribution is to be made.
Notwithstanding the forgoing, unless the Company’s taxable year is separated into
segments, if there is a Transfer or an Involuntary Withdrawal during the taxable year, the
Profit and Loss shall be allocated between the original Interest Holder and the successor
on the basis of the number of days each was an Interest Holder during the taxable year;
provided, however, the Company’s taxable year shall be segregated into two or more
segments in order to account for Profit for Loss, or proceeds attributable to a Capital
Transaction or to any other extraordinary nonrecurring items of the Company.

4.5.4. The Manager is hereby authorized, upon the advice of the Company’s tax
counsel, to amend this Section IV to comply with the Code and the Regulations
promulgated under Code Section 704(b); provided, however, that no amendment shall
materially affect distributions to an Interest Holder without the Interest Holder’s prior
written consent

tenant ritssusos\ooonoaNBus\AoR\ooi15319_1300;3;- 12 -
DTl 90934sv3 02/28/11 g

Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 13 of 24 Page|D: 360

Section V.
Management: Rights, Power, and Duties

5.1. Management.

5.l.l. Manager. .lignesh N. Pandya is hereby appointed the sole manager of the
Company (the “Manager r”). The Manager shall have full, exclusive, and complete
discretion, power, and authority, subject in all cases to the other provisions of this
Agreement and the requirements of applicable law, to manage control, administer, and
operate the business and affairs of the Company for the purposes herein stated, and to
make all decisions affecting such business and affairs No other Person shall have any
right or authority to act for or bind the Company except as permitted' in this Agreement,
as required by law, or as expressly agreed to in writing by the Manager.

5.1.2. General Powers. The Manager shall have the full power to execute and
deliver, for and on behalf of the Company, any and all documents and instruments which
may be necessary or desirable to carry on the business of the Company, including,
without limitation, any and all deeds, contracts, leases, mortgages, deeds cf` trust,
promissory notes, security agreements, and financing statements pertaining to the
Company’ s assets or obligations, and to authorize the confession of judgment against the
Company. No person dealing with the Manager need inquire into the validity or
propriety of any document or instrument executed in the name of the Company by the
Manager, or as to the authority of the Manager executing the same.

5.1.3. Limitation on Authority of Members.

5.1.3.1. No Member is an agent of the Company solely by virtue of
being a Member, and no Member has authority to act for the Company solely by
virtue of being a'Member. No Member (other than the Manager) shall take part
in, or interfere in any manner with, the management conduct or control of the
business and affairs of the Company.

5.1.3.2. Any Member who takes any action or binds the Company
in violation of this Section 5.1 shall be solely responsible for any loss and expense
incurred by the Company as a result of the unauthorized action and shall
indemnify and hold the Company harmless with respect to any such loss or
expense

5.1.4. Resignation of Manager. The Manager may resign upon thirty (30) days
written notice to the Members, after which notice the Members may elect a new

Manager.
5.2. Meetings of and Voting by Members. Unless required by law, meetings of the

Members need be held and there shall be no requirement for an annual meeting of the Members.
Meetings, however, if held shall be governed by this Section 5.2.

7 icLlENT FiLas\zsos\ooo1\GENBUs\AGR\00115319.1)0<:;3}- 13 -
Dri 909348v3 02/23/11 q _ W
. l lm@'"

Case 2:14-cV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 14 of 24 Page|'D: 361

5.2.1. A meeting of the Members may be called at any time by the Manager or
by those Members holding fifty-one percent (51%) or more of the Percentages then held
by Members. Meetings of Members shall be held at the Company’s principal place of
business or at any other place in Pennsylvania designated by the Person calling the
meeting Not less than five (5) nor more than ninety (90) days before each meeting, the
Person calling the meeting shall given written notice of the meeting to each Member
entitled to vote at the meeting. The notice shall state the time, place, and purpose of the
meeting Notwithstanding the foregoing provisions, each Member who is entitled to
notice waives notice if before or after the meeting the Member signs a waiver of the
notice which is filed with the records of the Members’ meetings, or is present at the
meeting in person or by proxy. Unless this Agreement provides otherwise, at a meeting
of Members, the presence in person or by proxy of Members holding fifty-one percent
(51%) or more of the Percentages then held by Members constitutes a quorum. A
Member may vote either in person or by written proxy signed by the Member or by his
duly authorized attorney-in.-fact.

1 5.2.2. Except as otherwise provided in this Agreement, the affirmative vote of
Members holding fifty-one percent (51%) or more of the Percentages then held by
Members shall be required to approve any matter corning before the Members.

5.2.3. In lieu of holding a meeting, the Members may vote or otherwise take
action by a written instrument indicating the consent of Members holding fifty-one
percent (51%) or more of the Percentages then held by Members. -

5.2.4. Except as otherwise provided in this Agreement, wherever the Law
requires unanimous consent to approve or take any action, that consent shall be given in
writing and, in all cases, shall mean, rather than the consent of all Members, the_consent
of Members holding fifty-one percent (51%) or more of the Percentages then held by
Members. t

5.3. Personal Services.

_ 5.3.1. No Member shall be required to perform services for the Company solely
by virtue of being a Member. Unless approved by the Manager, no Member shall
perform services for the Company or be entitled to compensation for services performed
for the Company.

5.3.2. Upon the approval by Members holding fifty-one percent (51%) or more
of the Percentages then held by Members, the Manager shall be entitled to compensation
for services performed for the Company. Upon substantiation of the amount and purpose
thereof, the Manager shall also be entitled to reimbursement for expenses reasonably
incurred in connection with the activities of the Company.

5.4. Duties of Parties.

{cLu-:NT FrLEs\zsos\coo1\GENBUs\AGR\00115319.000;3}- 14 -
Drl 909348v3 02/23111 '

Case 2:14-CV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 15 of 24 Page|D: 362

5.4.1. The Manager shall devote such time to the business and affairs of the
Company as is necessary to carry out the Manager’s duties set forth in this Agreement

5.4.2. Except as otherwise expressly provided in Section 5.4.3, nothing in this
Agreement shall be deemed to restrict in any way the rights of any Member, or of any
Affiliate of any Member, to conduct any other business or activity Whatsoever, and the
Member shall not be accountable to the Company or to any Member with respect to that
business or activity even if the business or activity competes With the Company’s 7
business. The organization of the Company shall be without prejudice to their respective
rights (or the rights of their respective Affiliates) to maintain, expand, or diversify such
other interests and activities and to receive and enjoy profits or compensation therefrom
Each Member Waives any rights the Member might otherwise have to share or participate
in such other interests or activities of any other Member or the Member’s Affiliates.

5.4.3. Each Member understands and acknowledges that the conduct of the
Company’s business may involve business dealings and undertakings With Members and
their Affiliates. In any of those cases, those dealings and undertakings shall be at ann’s
length and on commercially reasonable terms.

5.5. Liability and lndernnification.

5.5.1. The Manager shall not be liable, responsible, or acoountable, in damages
or otherwise, to any Member or to the Company for any services performed by the
Manager Within the scope of the authority conferred on the Manager by this Agreement,
except for fraud or gross negligence

5.5.2. The Company shall indemnify the Manager for any act performed by the
Manager Within the scope of the authority conferred `on the Manager by this Agreement,
except for fraud or gross negligence

5.6. Power of Attomey.

5.6.1. Grant of Power. Each Member constitutes and appoints the Manager as
the Member’s true and lawful attorney-in-fact (“Attorney-in-Fact”), and in the Member’s
name, place and stead, to make, execute, sign, acknowledge, and file:

5.6.1.1. one or more Articles of Organization;

5.6.1.2. all documents (including amendments to the Articles of
Organization) Which the Attomey-in-Fact deems appropriate to reflect may
amendment, change, or modification of this Agreement;

5.6.1.3. any and all other certificates or other instruments required

to be filed by the Company under the laws of the State of Connecticut or of any
other state or jurisdiction, including, Without limitation, any certificate or other

{CLIENT FlLEs\zsos\ooo1\GENBUs\AGR\00115319.1)00;3}- 15 -

DTi 90934sv3 02/28/11 - /W
ing

Case 2:14-CV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 16 of 24 Page|D: 363

instruments necessary in order for the Company to continue to qualify as a limited
liability company under the laws of the State of Connecticut;

5.6.1.4. one or more fictitious or trade name certificates; and

5.6.1.5. all documents which may be required to dissolve and
terminate the Company and to cancel its Articles of Orgam`zation.

5.6.2. Irrevocability. The foregoing power of attorney is irrevocable and is
coupled with an interest, and, to the extent permitted by applicable law, shall survive the
death or disability of a Member. lt also shall survive the Transfer of an Interest, except
that if the transferee is approved for admission as a Member, this power of attorney shall
survive the delivery of the assignment for the sole purpose of enabling the Attorney-in-
Fact to execute, acknowledge, and file any documents needed to effectuate the
substitution Each Member shall be bound by any representations made by the Attomey-
in-Fact pursuant to this power of attomey, and each Member hereby waives any and all
defenses which may be available to contest, negate, or disaffirm the action of the
Attomey-in-Fact taken under this power of attorney.

Section VI.
Transfer of Interests and Withdrawals of Members

6.1. Restrictions on Transfer.

 

6.1.1. Except as otherwise provided in this Agreement, no Member, other than
Jignesh A. Pandya, may Transfer all, or any portion of, or any interest or rights in, the
Membership Rights owned by the Member; and no Interest Holder may Transfer all, or
any portion of, or any interest or rights in, any Interest without the prior written consent
of the Manager. Each Member hereby acknowledges the reasonableness of this
prohibition in view of the purposes of the Company and the relationship of the Members.
The Transfer of any Membership Rights or Interests in violation of the prohibition
contained in this Section 6.l shall be deemed invalid, null and void, and of no force or
effect Any Person to whom Membership rights are attempted to be transferred in
violation of this Section shall not (i) be entitled to vote on matters coming before the
Members, (ii) participate in the management of the Company, (iii) act as an agent of the
Company, (iv) receive distributions from the Company, or (v) have any other rights in or
with respect to the Membership Rights. `

lignesh A. Pandya shall be permitted to transfer his interest Without the
consent of any Member or Manager.

_ 6.2. Voluntary Withdrawal.l No Member shall have the right or power to Voluntarily
Withdraw from the Company without the prior written consent of the Manager.

6.3. Optional Redernption in Event of Involuntarv Withdrawal.

- {cLiENT FILEs\zsos\ooo1\GENBUS\AGR\00115319.1)0€;3}- 16 -
DTI 90934sv3 02/28/11

@

Case 2:14-CV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 17 of 24 Page|D: 364

6.3.1. If the Members elect to continue the Company after an lnvoluntary
Withdrawal, the Withdrawn Member shall be deemed to offer for sale (the “Withdrawal
Qf@”) to the Company all of the Membership Rights owned of record and beneficially
by the Withdrawn Member (the “Withdrawal Interest”).

6.3.2. The Withdrawal Offer shall be and remain irrevocable for a period (the
“Withdrawal Offer Period”) ending at 11:59 p.m., local time, at the Company’s principal
office on the sixtieth (60th) day following the date the Members elect to continue the
Company. At any time during the Withdrawal Offer Period, the Company may accept
the Withdrawal Offer by notifying the Withdrawn Member (the “Withdrawal Notice”) of
its acceptance The Withdrawn Member shall not be deemed a Member or Manager for
the purpose of the vote on whether the Company shall accept the Withdrawal Offer.

6.3.3. If the Company accepts the Withdrawal Offer, the Withdrawal Notice
shall fix a closing date (the “Withdrawal Closing Date”) for the purchase which shall be
not earlier than ten (10) or later than ninety (90) days after the expiration of the
Withdrawal Period. l

6.3.4. lf the Company accepts the Withdrawal Offer, the Company shall
purchase the Withdrawal Interest for a price equal to the Book Value, as defined in
Section 6.7 (the “Withdrawal Purchase Price”). The Withdrawal Purchase Price shall be
paid in cash on the Withdrawal Closing Date, unless the Remaining Members elect prior
to or on the Withdrawal Closing Date to pay all or any portion of the Withdrawal
Purchase Price in installments as provided in Section 6.5 of this Agreementl

6.3.5. If the Company fails to accept the Withdrawal Offer, then the
Withdrawing Member or the Withdrawing Member’s successor, as the case may be, upon
the expiration of the Withdrawal Offer Period, thereafter shall be required to sell the
Withdrawal Interest pursuant to Section 6.4.

6.4. Mandatory Buy-out in Event of lnvoluntary Withdrawal.

6.4.1. lf the Members elect to continue the Company after an lnvoluntary
\Withdrawal and the Company fails to accept the Withdrawal Offer pursuant to Section
6.3, the Members other than the Withdrawn Member (“Remaining Members”) may
purchase, and the Withdrawn Member shall sell the Withdrawal Interest for a price equal
to the Withdrawal Purchase Price. In the absence of a contrary agreement among the
Remaining Members, each Remaining Member may purchase the Withdrawal Interest in
the proportion that his respective Percentage bears to the total Percentages of all of the
Remaining Members. '

6.4.2. The Remaining Members, by written notice addressed to the Withdrawn
Member, shall fix the Withdrawal Closing Date for the purchase The Withdrawal
Closing Date shall not be earlier than ten (1.0) days or later than one hundred fifty (lSO)
days after the later of the date on which the lnvoluntary Withdrawal occurred or the date
on which the Company received notice of the lnvoluntary Withdrawal.

{cLIENr rlLEs\zsos\ooo1\GENBus\AGR\00i15319.Doc;3}- 17 -
DTl 90934sv3 02/28/11

,/--_._

Case 2:14-CV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 18 of 24 Page|D: 365

6.4.3. The Withdrawal Purchase Price shall be paid in cash on the Withdrawal
Closing Date, unless the Remaining Members elect prior to or on the Withdrawal Closing
Date to pay all or any portion of the Withdrawal Purchase Price in installments as
provided in Section 6.5 of this Agreement Simultaneously with the payment of the
Withdrawal Purchase Price and/or the delivery of the Remaining Members’ promissory
notes to evidence their respective obligations to pay the Withdrawal Purchase Price, as
applicable, the Withdrawn Member shall execute and deliver to the Remaining Members
those assignments and other instruments as may be reasonably required to vest in the
Remaining Members all right, title, and interest in and to the Withdrawal lnterest, free
and clear of all liens and encumbrances, including, but not limited to, the certificate or
certificates evidencing the Withdrawal lnterest, together with a power duly endorsed in
blank for transfer of the Withdrawal Interest to the Remaining Members.

' 6.5 Installment Buy-outs. If the Company or the Remaining Members, as the case
may be (the “Purchaser”), elect to pay all or any portion of the Withdrawal Purchase Price (the
“lndebtedness”) on an installment basis, the Purchaser shall pay the Indebtedness by executing
and delivering its or their promissory note to the Withdrawn Member.

6.6 Call Option.

6.6.1 Each Member (other than the Manager) hereby unconditionally and
irrevocably grants to the Company an exclusive option to purchase all or any portion of
such Member’s Membership Rights (the “Call Option”), at the Company’s sole and
absolute discretion, in accordance with the terms and conditions set forth in this Section
6.6.

6.6.2 Each Member hereby acknowledges and agrees that the Call Option may
be exercised by the Company at any time, for any reason and in its sole and absolute
discretion Upon such exercise, the Company shall deliver a written notice to such
Member that the Company has exercised the Call Option.

6.6.3 Should the Company exercise the Call Option, the purchase price to be
paid by the Company for such Member’s Interest (the ‘-‘Call Option Purchase Price”) shall
be the Book Value determined in the manner set forth in Section 6.6.4, divided by the
number of Interests outstanding less any amounts owed by such Member to the
Company. The Company shall pay the Call Option Purchase Price to such Member in
such manner as shall be determined by the Company in its sole and absolute discretionl
Such Member shall execute and deliver any and all documents necessary to effectuate the
transfer of such Member’s Interest to the Company, including, but not limited to, the
certificate or certificates evidencing such Member’s lntercst, together with an interest
power duly endorsed in blank for transfer of the Interest to'the Company.

6.6.4 Each Member hereby acknowledges and agrees that such Member shall
have no put option with respect to such Member’s lnterest.

{CLlENT FILES\ZB()S\OOOl\GENBUS\AGR\ODl15319.DOC;3}- 18 -
DTI 909348¥3 02/23/11

Case 2:14-CV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 19 of 24 Page|D: 366

6.7. Book Value. The term “Book Value” means the book value of the respective
Member’s equity in the Company as of the end of the last full taxable year immediately
preceding the year in which the event giving rise to the purchase and sale of the Membership
Rights or Interest occurred. Notwithstanding anything contained in this Agreement to the
contrary, the computation of Book Value shall be subject to the following provisions:

6.7.1. Book Value shall not include any proceeds collected or collectible by the
Company, under any policy,or policies of life or disability insurance insuring the life or
disability of a Member, as a result of the death or disability of a Member.

6.7.2. No additional allowance of any kind shall be made for the goodwill, trade
names, or any other intangible asset or assets of the Company other than the aggregate
dollar amount for any of those intangible assets appearing on the most recent balance
sheet of the Company prior to the date on which Book Value is to be determined

6.7.3. Book Value shall be determined by the accountants regularly employed by
the Company. The determination by the accountants shall, for purposes of this
Agreement, be final, conclusive, and binding upon each of the parties hereto.

Section VII.
Dissolution, Liquidation, and Termination of the Company

7.1. Events of Dissolution. 'l`he Company shall be dissolved upon the happening of
any of the following events: ~

7. l .l._ When the period fixed for its duration in Section 2.4 has expired;
7.1.2. Upon the unanimous written agreement of all of the Members;

7.1.3. Upon the occurrence of an lnvoluntary Withdrawal of a Member, unless
the remaining Members, within ninety (90) days after the occurrence of the lnvoluntary
Withdrawal, unanimously elect to continue the business of the Company pursuant to the
terms of this Agreement; or

7.1.4. Upon the entry of an order of judicial dissolution under Section 8972 of
the Law.

7.2. Procedure for Winding Un and Dissolution. If the Company is dissolved, the
Manager shall wind up its affairs. On winding up of the Company, the assets of the Company
shall be distributed, first, to creditors of the Company, including Interest Holders and the
Manager who are creditors, in satisfaction of the liabilities of the Company, and then to the
Interest Holders in accordance with Section 4.4.

7.3. Filingnf Articles of Dissolution. lf the Company is dissolved, the Manager shall
file Articles of Dissolution with the Department of State of the State of Connecticut at the time

{cLIENr Fn.asnsos\ooonoaususu\.on\oo115319.Doc;3}- 19 -

Drl 909348v3 02/28/11 W
/ l y

Case 2:14-cV-03127-W.]|\/|-|\/||:l Document 39-1 Filed 68/11/15 Page 20 of 24 Page|D: 367

set forth m the Law. lf` there' ls no Manager, then the Articles of Dissolution shall be filed by the_
remaining Members; if there are no remaining Members, the Articles shall be filed by the last
Person to be a Member; if there' 1s neither a Manager, remaining Members, or a Person who last
was a Member, the Articles shall be filed by the legal or personal representatives of the Person
who last was a Member.

Section VIII.
Books, Records, Accounting, and Tax Elections

8.1. Bank Accounts. All hinds of the Company shall be deposited in a bank account
or. accounts maintained in the Company’s name. The Manager shall determine the institution or
institutions at which the accounts will be opened and maintained, the types of accounts, and the
Persons who will have authority with respect to the accounts and the funds therein.

8.2. Books and Records.

8.2.1. The Manager shall keep or cause to be kept complete and accurate books
and records of the Company and supporting documentation of the transactions with
respect to the conduct of the Company’s business. The records shall include, but not be
limited to, complete and accurate information regarding the state of the business and -'
financial condition of the Company, a copy of the Articles of Organization and this
Agreement and all amendments to the Articles of Organization and this Agreement; a
current list of the names and last known business, residence, or mailing addresses of all
Members; and the Company’s federal, state, or local tax returns

8.2.2. Except as set forth in Section 8.4, each Member hereby irrevocably waives
any and all rights that such Member may have to receive information from, and to inspect
the books and records of, the Company pursuant to the Law and any other laws
applicable to the Company.

8.3. Annual Accounting Period. The annual accounting period of the Company shall
be its taxable year. The Company’s taxable year shall be selected by the Manager, subject to the
requirements and limitations of the Code.

 

8.4. Reports. Within seventy-five (75) days after the end of each taxable year of the
Company, the Manager shall cause to be sent to each Person who was an Interest Holder at any
time during the taxable year then ended, such tax information concerning the Company which is
necessary for preparing the Interest Holder’s income tax returns for that year.

8.5. Tax Matters Partner. The Manager shall be the Company’s tax matters partner
(“Tax Matters Partner”). If the Manager is not a Member, the Member designated by vote of a
majority in interest of the Members shall serve as Tax Matters Partner. The Tax Matters Partner
shall have all powers and responsibilities provided in Code Section 6231, et seq. The Company
shall pay and be responsible for all reasonable third-party costs and expenses incurred by the Tax
Matters Partner in performing those duties. A Member shall be responsible for any costs

{CLIENT FlLES\ZSOS\OUOl\GENBUS\AGR\GOl 15319.DOC;3}" 20 "
orr 90934sv3 02/23/11 W
1119

Case 2:14-CV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 21 of 24 Page|D: 368

incurred by the Member with respect to any tax audit or tax-related administrative or judicial
proceeding against any Member, even though it relates to the Company. The Tax Matters
Partner may compromise any dispute with the lntemal Revenue Service without the approval of
the'l\/lembers.

8.6. Tax Electicns. The Manager shall have the authority to make all Company
elections permittedunder the Code, including, without limitation, elections of methods of
depreciation and elections under Code Section 754. The decision to make or not make an
election shall be at the Manager’s sole and absolute discretion

8.7. Title to Company Property.

8.7.1. Except as provided in Section 8.7.2, all real and personal property
acquired by the Company shall be acquired and held by the Company in its name.

8.7.2. The Manager may direct that legal title to all or any portion of the
Company’s property be acquired or held in a name other than the Company’s name.
Without limiting the foregoing, the Manager may cause title to be acquired and held in its
name or in the names of trustees, nominees, or straw parties for the Company. lt is
expressly understood and agreed that the manner of holding title to the Company’s
property (or any part thereof) is solely for the convenience of the Company, and all of
that property shall be treated as Company property.

Section IX.
General Provisions

9.1. Assurances. Each Member`shall execute all such certificates and other documents
and shall do all such filing, recording, publishing, and other acts as the Manager deems
appropriate to comply with the requirements of law for the formation and operation of the
Company and to comply with any laws, rules, and regulations relating to the acquisition,
operation, or holding of the property of the Company.

9.2. Notifications. Any notice, demand, consent, election, offer, approval, request, or
other communication (collectively a “notice”) required or permitted under this Agreement must
be in writing and either delivered personally or sent by certified or registered mail, postage
prepaid, return receipt requested Any notice to be given hereunder by the Company shall be
given by the Manager. A notice must be addressed to an Interest Holder at the Interest Holder’s
last known address on the records of the Company. A notice to the Company must be addressed
to the Company’s principal office. A notice delivered personally will be deemed given only'
when acknowledged in writing by the person to whom it is delivered A notice that is sent by
mail will be deemed given three (3) business days after it is mailed.- Any party may designate,
by notice to all of the others, substitute addresses or addressees for notices; and, thereafter,
notices are to be directed to those substitute addresses or addressees.

{CLIENT FILES\ZBUS\OOOl‘\GENBUS\AGR\OOl15319.DOC;3}- 21 -

nrl 90934sv3 02/28/11 W
la no

Case 2:14-CV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 22 of 24 Page|D: 369

9.3. Specific Performance. The parties recognize that irreparable injury will result
from a breach of any provision of this Agreement and that money damages will be inadequate to
fully remedy the injury. Accordingly, in the event of a breach or threatened breach of one or
more of the provisions of this Agreement, any party Who may be injured (in addition to any other
remedies which may be available to that party) shall be entitled to one or more preliminary or
permanent orders (i) restraining and enjoining any act which would constitute a breach or (ii)
compelling the performance of any obligation which, if not performed, would constitute a '
breach.

9.4. Complete Ageement. This Agreement constitutes the complete and exclusive
statement of the agreement among the Members. lt supersedes all prior written and oral
statements, including any prior representation, statement, condition, or warranty. Except as
expressly provided otherwise herein, this Agreement may not be amended without the written
consent of all of the Members.

9.5. Applicable Law. All questions concerning the construction, validity, and
interpretation of this Agreement and the. performance of the obligations imposed by this
Agreement shall be governed by the internal law, not the law of conflicts, of the State of

Connecticut.

9.6. Section Titles. The headings herein are inserted as a matter of convenience only
and do not define, limit, or describe the scope of this Agreement or the intent of the provisions
hereof`. '

9.7. - Binding Provisions. This Agreement is binding upon, and inures to the benefit of,
the parties hereto and their respective heirs, executors, administrators, personal and legal
representatives, successors, and permitted assigns.

9.8. Jurisdiction and Venue. Any suit involving any dispute or matter arising under
this Agreement may only be brought in the United States District Court of Connecticut or any
Connecticut court having jurisdiction over the subject matter of the dispute or mattcr. All
Members hereby consent to the exercise of personal jurisdiction by any such court with respect
to any such proceeding

9.9. Terms. Common nouns and pronouns shall be deemed to refer to the masculine,
feminine, neuter, singular and plural, as the identity of the Person may in the context require.

9.10. Separability of Provisions. Each provision of this Agreement shall be considered
separable; and if`, for any reason, any provision or provisions herein are determined to be invalid
and contrary to any existing or future law, such invalidity shall not impair the operation of or
affect those portions of this Agreement which are valid.

9.ll. Estoppel Certificate. Each Member shall, within ten (10) days after written
request by the Manager, deliver to the requesting Person a certificate stating, to the Member’s
knowledge, that: (a_) this Agreement is in full force and effect; (b) this Agreement has not been
modified except by any instrument or instruments identified in the certificate; and (c) there is no

{CLlENT FlLES_\ZBOS\OOOl\GENBUS\AGR\OOl 15319.DOC;3}- 22 -
DTl 909348v3 02/28/11

 

Case 2:14-CV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 23 of 24 Page|D: 370

default hereunder by the requesting Person, or if there is a default, the nature and extent thereof.
lf the certificate is not received within that ten (10) day period, the Manager shall execute and
deliver the certificate on behalf of the requested Member, without qualification, pursuant to the
power of attorney granted in Section 5 .6.

9.12. Counterparts. This Agreement may be executed by the parties hereto on any
number of separate counterparts, and all such counterparts so executed constitute one agreement
binding on all the parties hereto notwithstanding that all the parties hereto are not signatories to
the same counterpart For purposes of this Agreement, a document (or signature page thereto)
signed and transmitted by facsimile machine or portable document file (“YE”) is to be treated
as an original document The signature of any party thereon is to be considered as an original
signature, and the document transmitted is to be considered to have the same binding effect as an
original signature on an original document At the request of any party hereto, any facsimile or
PDF document is to be re-executed in original form by the parties who executed the facsimile or
PDF document No party hereto may raise the use of -a facsimile machine or PDF or the fact that

any signature was transmitted through the use of a facsimile machine or by PDF as a` defense to
the enforcement of this Agreement or any amendment or other document executed in compliance

with this Section 9.12.
Section X.
Management Fee
lO.l Management Fee. The Manager is hereby authorized to enter into any
management agreements for the operation of any of the Pizza Hut stores owned by the Company

and pay a Management Fee for such services rendered, all in the sole discretion of- the Managers.

IN WITNESS WHEREOF, the parties have executed, or caused this Agreement to be
executed, under seal, as of the date set forth hereinabove

 

 

 

Kishan .l. Patel

{CLIENT FrLEs\zsos\cocl\GENBUs\AGR\cc115319.1300;3}- 23 -

Drl 90934sv3 02128/1; y v
/ / |/?

Case 2_:14-CV-08127-W.]I\/|-I\/|F Document 39-1 Filed 08/11/15 Page 24 of 24 Page|D: 371

DTl 909348v3 02/28/ l l

Limited Liability Company

Opcrating Agreement

Exhibit A

List of Members and Percentages

 

 

 

 

Name and Address
Percentages
Jignesh N. Pandya
1471 Hidden Pond Drive 75%
Yardley, PA 19067
Kishan J. Patel
395 New Dover Road 25%

Colonia,NJ 07067

 

 

 

{CL|ENT FILEs\zsss\ooonosNBus\AGR\oo1 15319.Doc;3 }A-l

@' ap

